                                             Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 1 of 16




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7        TECHNICAL LED INTELLECTUAL                       Case No. 19-cv-00393-JCS
                                            PROPERTY, LLC,
                                   8                    Plaintiff,                           REPORT AND RECOMMENDATION
                                   9                                                         REGARDING MOTION FOR
                                                  v.                                         DEFAULT JUDGMENT
                                  10
                                            BVGA MIPOW (USA) CO., LTD,                       Re: Dkt. No. 19
                                  11                    Defendant.
                                  12
Northern District of California
 United States District Court




                                  13   I.      INTRODUCTION
                                  14           Plaintiff Technical LED Intellectual Property, LLC (“Technical LED”) brought this action

                                  15   alleging that Defendant BVGA Mipow (USA) Co., Ltd. (“Mipow”) infringed a patent assigned to

                                  16   Technical LED for a light source incorporating both light-emitting diodes (“LEDs”) that emit

                                  17   white light and LEDs that emit light of other colors, with the various colors of light mixing in an

                                  18   optical cavity. The Clerk entered Mipow’s default after Mipow failed to answer or otherwise

                                  19   respond to the complaint, and Technical LED now moves for default judgment. The undersigned

                                  20   held a hearing on August 9, 2019, and Technical LED submitted supplemental materials in early

                                  21   2020. For the reasons discussed below, the undersigned recommends that the motion be

                                  22   GRANTED IN PART and DENIED IN PART, and that a judgment of $88,352.73 be entered.

                                  23           Because not all parties have consented to the jurisdiction of a magistrate judge pursuant to

                                  24   28 U.S.C. § 636(c), this case will be reassigned to a United States district judge for all further

                                  25   proceedings, including action on the recommendations of this report. Any party may file

                                  26   objections to these recommendations no later than fourteen days from the date of this report.

                                  27

                                  28
                                             Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 2 of 16



                                       II.     BACKGROUND
                                   1
                                               A.   Allegations of the Complaint
                                   2
                                               Technical LED is the assignee of U.S. Patent No. RE41,685 (the “’685 patent”), which was
                                   3
                                       reissued on September 14, 2010 based on an application originally filed December 28, 1999.
                                   4
                                       Compl. (dkt. 1) ¶ 6 & Ex. A (’685 patent). Technical LED alleges that Mipow infringes the ’685
                                   5
                                       patent through sale of “products . . . including its playbulb smart lights and similar assemblies,”
                                   6
                                       and attaches charts comparing the internal systems of two Mipow products (the “E26 Bluetooth
                                   7
                                       Smart LED Light Bulb” and the “BTL-400-BK Playbulb”) to the tenth through fourteenth claims
                                   8
                                       of the ’685 patent. Id. ¶ 7 & Exs. B, C. Those claims read as follows:
                                   9
                                                      10. A light source comprising:
                                  10
                                                      an optical cavity;
                                  11
                                                      a plurality of first light-emitting diodes each of which is a phosphor
                                  12                  light-emitting diode that emits white light, each first light-emitting
Northern District of California
 United States District Court




                                                      diode comprising a diode encased in a light-transmitting package;
                                  13
                                                      a plurality of second light-emitting diodes each of which emits non-
                                  14                  white light, each second light-emitting diode comprising a diode
                                                      encased in a light-transmitting package;
                                  15
                                                      wherein the first and second light-emitting diodes are arranged to emit
                                  16                  light into the optical cavity such that mixing of spectral outputs from
                                                      the first and second light-emitting diodes occurs in the optical cavity.
                                  17
                                                      11. A light source of claim 10, further comprising at least one third
                                  18                  light-emitting diode having a spectral output different from those of
                                                      the first and second light-emitting diodes.
                                  19
                                                      12. A light source of claim 11, wherein the spectral output of the
                                  20                  second light-emitting diodes is a red output.
                                  21                  13. A light source of claim 11, wherein the spectral output of the third
                                                      light-emitting diode is a green output.
                                  22
                                                      14. A light source of claim 13, further comprising at least one fourth
                                  23                  light-emitting diode having a blue output.
                                  24

                                  25   Id. Ex. A at 8:43–67.

                                  26           Technical LED’s complaint seeks a judgment of willful infringement, a permanent

                                  27   injunction barring Mipow and its agents and associates from infringing the ’685 patent, damages,

                                  28   “and an accounting of ongoing post-judgment infringement,” as well as any other relief to which it
                                                                                         2
                                           Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 3 of 16




                                   1   may show it is entitled. Compl. at 4 (prayer for relief).

                                   2          B.    Procedural History
                                   3          Technical LED filed its complaint on January 22, 2019. See id. The Clerk issued

                                   4   summons on January 25, 2019. Summons (dkt. 6). On February 7, 2019, a process server served

                                   5   Mipow by leaving summons, the complaint, and other documents with the person apparently in

                                   6   charge at Mipow’s principal place of business in Milpitas, California, whom the process server

                                   7   described as “(JOHN DOE)” and “ASIAN MALE 30YRS 6’3” 420LBS. BLACK HAIR.” Proof

                                   8   of Service (dkt. 8) at 1. A process server mailed the same documents to Mipow the following day.

                                   9   Id. at 2. Technical LED applied for entry of default on April 5, 2019 (dkt. 9), and the Clerk

                                  10   entered Mipow’s default on April 8, 2019 (dkt. 10).

                                  11          After Technical LED failed to appear for the initial case management conference on April

                                  12   29, 2019, the undersigned issued an order to show cause why the case should not be dismissed for
Northern District of California
 United States District Court




                                  13   failure to prosecute. Order to Show Cause (dkt. 12). Technical LED’s attorney Louis

                                  14   Heidelberger appeared for a case management conference and hearing on the order to show cause

                                  15   on May 31, 2019, and the undersigned expunged the order to show cause. Civil Minute Order

                                  16   (dkt. 18). Technical LED filed its present motion on June 29, 2019. See generally Mot. (dkt. 19).

                                  17   At the June case management conference and hearing on the present motion, the undersigned

                                  18   directed Technical LED to submit additional evidence related to its claim for damages resulting

                                  19   from Defendant’s infringement. Plaintiff submitted a supplemental brief containing most of that

                                  20   information, including records of sales of the infringing products. Supp’l Br. (dkt. 28).

                                  21          C.    Technical LED’s Arguments and Evidence
                                  22          Heidelberger states that Technical LED informed Mipow of its purported infringement and

                                  23   of Technical LED’s intent to file this action on October 19, 2018, but that other than

                                  24   acknowledging receipt of Technical LED’s letter, Mipow did not provide a substantive response

                                  25   before Technical LED filed its complaint. Heidelberger Decl. (dkt. 19-1) ¶¶ 3–4 & Ex. A

                                  26   (correspondence between Heidelberger and Mipow employee Sam Yang). The purportedly

                                  27   infringing products have continued to be available for sale through at least the date of Technical

                                  28   LED’s motion for default judgment. Id. ¶ 10. According to Heidelberger, Technical LED
                                                                                         3
                                           Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 4 of 16




                                   1   requested Mipow’s sales figures in order to prepare a settlement offer, and Mipow promised to

                                   2   provide them but never did so. Id. ¶¶ 5–6. Instead, Mipow has provided only what Heidelberger

                                   3   characterizes as “meager settlement offers.” Id. ¶ 8.

                                   4          Several months after the hearing, at the direction of the undersigned, Technical LED

                                   5   provided sales records for the infringing products from Amazon and Best Buy. Supp’l Br. Ex. 1-D

                                   6   (“Amazon’s Initial Production of Infringing Sales re Mipow”); 1-E (“Amazon’s First

                                   7   Supplemental Production Production of Infringing Sales re Mipow”); 1-H (“Amazon Second

                                   8   Supplemental Infringing Sales Production”); 1-I (“Best Buy Production Of Sales re Mipow

                                   9   Subpoena”). Based on those records, Technical LED concluded that, from 2013 to 2018, Mipow

                                  10   grossed $642,106.07 from selling products that infringed the ’685 patent. Supp’l Br. Ex. 1-M.

                                  11   Technical LED now claims that it is entitled to $57,789.54, or 9% of that revenue. Id. at 10.

                                  12   According to Technical LED, 9% represents a reasonable royalty rate which Technical LED
Northern District of California
 United States District Court




                                  13   would have agreed to had Mipow properly licensed the technology from the ’685 patent. Id.

                                  14   Technical LED contends that treble damages are appropriate because Mipow has willfully

                                  15   continued to sell infringing products after being placed on notice of its infringement and has failed

                                  16   to appear and defend this action. See Mot. at 13.

                                  17          Technical LED also seeks a permanent injunction barring Mipow from further

                                  18   infringement of the ’685 patent. Mot. at 13–19. Technical LED contends that an injunction is

                                  19   warranted because, among other reasons, damages alone would not allow it to dictate any non-

                                  20   monetary terms of a license for Mipow’s use of the patent. Id. at 16–17.

                                  21          Finally, Technical LED contends that it is entitled to its attorneys’ fees and costs based on

                                  22   the Court’s authority “in exceptional cases [to] award reasonable attorney fees to the prevailing

                                  23   party,” 35 U.S.C. § 285, because Mipow willfully infringed the ’685 patent and failed to defend

                                  24   this action. See Mot. at 19–22. Technical LED seeks fees at $600 per hour for thirty-one hours of

                                  25   Heidelberger’s time and $575 per hour for twelve hours of local counsel Brandon Fernald’s time,

                                  26   for a total of $25,500 in attorneys’ fees, as well as $600 for four hours of paralegal work and

                                  27   $9,697.49 in taxable and non-taxable costs. See Mot. at 21–23. Technical LED has not provided

                                  28   billing records or any other breakdown of its counsel’s use of their time. Technical LED also has
                                                                                           4
                                              Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 5 of 16




                                   1   not provided documentation of its costs, although Heidelberger states that they include $568.49 for

                                   2   filing costs and service of process, $354 for unspecified “Fernald Law Group expenses,” and

                                   3   $8,775 for thirteen hours of expert witness fees to determine infringement and prepare the charts

                                   4   comparing Mipow’s products to the claims of the ’685 patent. Heidelberger Decl. ¶ 33.

                                   5   III.     ANALYSIS
                                   6            A.   Legal Standard
                                   7            After default has been entered against a party, a district court may grant an application for

                                   8   default judgment in its discretion. See Fed. R. Civ. P. 55(b)(2). If the court is satisfied that

                                   9   jurisdiction is proper and that service of process upon the defendant was adequate, it then

                                  10   considers several factors in determining whether to grant default judgment:

                                  11                   (1) the possibility of prejudice to the plaintiff, (2) the merits of
                                                       plaintiff’s substantive claim, (3) the sufficiency of the complaint,
                                  12                   (4) the sum of money at stake in the action, (5) the possibility of a
Northern District of California
 United States District Court




                                                       dispute concerning material facts, (6) whether the default was due to
                                  13                   excusable neglect, and (7) the strong policy underlying the Federal
                                                       Rules of Civil Procedure favoring decisions on the merits.
                                  14

                                  15   Eitel v. McCool, 782 F.2d 1470, 1471−72 (9th Cir. 1986). In making its decision, the court takes

                                  16   all factual allegations in the complaint, except those relating to damages, as true. TeleVideo Sys.,

                                  17   Inc. v. Heidenthal, 826 F.2d 915, 917−18 (9th Cir. 1987) (citing Geddes v. United Fin. Grp., 559

                                  18   F.2d 557, 560 (9th Cir. 1977)).

                                  19            B.   Jurisdiction and Service
                                  20            Technical LED’s patent infringement claim arises under federal law, specifically Title 35

                                  21   of the United States Code. See Compl. ¶ 3. The Court therefore has subject matter jurisdiction

                                  22   pursuant to 28 U.S.C. §§ 1331 and § 1338(a). Mipow is subject to the Court’s general personal

                                  23   jurisdiction because its principal place of business is in California. Compl. ¶ 2; see Daimler AG v.

                                  24   Bauman, 571 U.S. 117, 137–38 (2014).

                                  25            Technical LED served Mipow by leaving process with a person apparently in charge at

                                  26   Mipow’s principal place of business and mailing process to Mipow the following day. See Proof

                                  27   of Service. Under Rule 4(h)(1) of the Federal Rules of Civil Procedure, a corporation located in

                                  28   the United States can be served by any means authorized under state law where the district court is
                                                                                          5
                                           Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 6 of 16




                                   1   located or where the defendant is served. See Fed. R. Civ. P. 4(h)(1)(B) (citing Fed. R. Civ. P.

                                   2   4(e)(1)). The manner of service that Technical LED used here—delivery to a person apparently in

                                   3   charge of an office, followed by mailing—is allowed under California law. See Cal. Civ. Proc.

                                   4   Code § 415.20(a); Khourie, Crew & Jaeger v. Sabek, Inc., 220 Cal. App. 3d 1009, 1013 (1990).

                                   5   Service was therefore effective under Rule 4(h)(1)(B).

                                   6           C.    Eitel Factors
                                   7           Several of the Eitel factors weigh in favor of granting default judgment simply because

                                   8   Mipow has not participated in this action. Since Mipow has failed to respond to the complaint or

                                   9   otherwise appear in this action, Technical LED will be left without a remedy, and therefore

                                  10   prejudiced, if default judgment is not granted. The sum of money at stake is not so high as to

                                  11   weigh against granting judgment to the extent that any damages are supported by evidence,

                                  12   although the extent of such support is discussed separately below. Mipow was properly served—
Northern District of California
 United States District Court




                                  13   moreover, a Mipow employee acknowledged receiving Technical LED’s letter attaching its

                                  14   complaint, Heidelberger Decl. Ex. A—and there is no indication that its default is due to excusable

                                  15   neglect. Mipow could conceivably dispute some of the material facts if it were to appear, but it

                                  16   has failed to do so. Finally, while there is a strong public policy favoring the resolution of

                                  17   disputes on the merits, that is not possible in this case because Mipow has failed to appear and

                                  18   there is no indication that it intends to do so.

                                  19           The remaining factors, “the merits of plaintiff’s substantive claim” and “the sufficiency of

                                  20   the complaint,” are intertwined where, as here, the case has not advanced beyond the pleading

                                  21   stage. Technical LED’s complaint sufficiently identifies the patent at issue (RE41,685), Compl.

                                  22   ¶ 6 & Ex. A, alleges that a class of Mipow’s products (“playbulb smart lights and similar type

                                  23   assemblies”) infringe that patent, id. ¶ 7, specifies particular claims infringed (“claims 10 through

                                  24   14”), id., includes charts and photographs explaining how two of the products at issue infringe the

                                  25   claims of the patent, id. Exs. B, C, and places Mipow on notice of the relief that Technical LED

                                  26   seeks, including an injunction and damages for willful infringement, id. at 4 (prayer for relief).

                                  27   The complaint states a claim for patent infringement, and it is sufficient to support entry of default

                                  28   judgment against Mipow to the extent that Technical LED has shown entitlement to any damages
                                                                                          6
                                           Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 7 of 16




                                   1   or other forms of relief.

                                   2          D.    Damages
                                   3                  1.      Reasonable Royalties
                                   4          A plaintiff that succeeds in showing infringement of its patent is entitled to “damages

                                   5   adequate to compensate for the infringement, but in no event less than a reasonable royalty for the

                                   6   use made of the invention by the infringer.” 35 U.S.C. § 284. “A reasonable royalty is the

                                   7   amount that ‘a person, desiring to manufacture [, use, or] sell a patented article, as a business

                                   8   proposition, would be willing to pay as a royalty and yet be able to make [, use, or] sell the

                                   9   patented article, in the market, at a reasonable profit.’ ” Trans-World Mfg. Corp. v. Al Nyman &

                                  10   Sons, Inc., 750 F.2d 1552, 1568 (Fed. Cir. 1984) (alterations in original) (citations omitted). A

                                  11   reasonable royalty is measured by the “hypothetical negotiations between willing licensor and

                                  12   willing licensee.” Wang Labs., Inc. v. Toshiba Corp., 993 F.2d 858, 870 (Fed. Cir. 1993) (quoting
Northern District of California
 United States District Court




                                  13   Fromson v. Western Litho Plate & Supply Co., 853 F.2d 1568, 1574 (Fed. Cir. 1988)). Technical

                                  14   LED argues that a reasonable royalty rate would be of 9% of Mipow’s total revenue from the sale

                                  15   of infringing products. Supp’l Br. at 10. Technical LED estimates that it is entitled to $57,789.54

                                  16   in initial damages. Id. (citing Ex. O (past settlement agreements); Technical LED Intellectual

                                  17   Property, LLC. v Aeon, No. 18-cv-01847-JSC, ECF Doc. No. 49 (N.D. Cal. Dec. 2, 2019) (report

                                  18   and recommendation applying a 9% reasonable royalty rate)).

                                  19          Damages awarded on default judgment must be supported by evidence. See TeleVideo

                                  20   Sys., 826 F.2d at 918; Geddes, 559 F.2d at 560. To support its request for initial damages,

                                  21   Technical LED issued subpoenas to Amazon and BestBuy requesting sales and revenue data from

                                  22   the products allegedly infringing the ’685 patent. Supp’l Br. Ex. 1-A, 1-F.

                                  23          To determine what percent of that revenue is appropriate in this case, Technical LED refers

                                  24   to its past settlement agreements with other parties accused of infringing the ’685 patent. Supp’l

                                  25   Br. at 10; see also Supp’l Br. Ex. O.1 In addition, Technical LED references another default

                                  26
                                       1
                                  27     Because the settlement agreements Technical LED provided in Exhibit O were confidential and
                                       filed under seal, this report not discuss the specifics of the settlement agreements except to
                                  28   confirm that the 9% royalty rate is within the range of royalties Technical LED has agreed to in
                                       the past in cases involving the ’685 patent.
                                                                                           7
                                           Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 8 of 16




                                   1   judgment resulting from infringement of the ’685 patent. Tech. LED Intellectual Prop., LLC v.

                                   2   Aeon Labs LLC, No. C 18-01847 WHA, 2020 WL 1528446, at *2 (N.D. Cal. Mar. 31, 2020).

                                   3   Based on the settlement agreements provided by Technical LED and the reasoning in Aeon Labs,

                                   4   the undersigned concludes that a 9% royalty rate is consistent with past agreements to license the

                                   5   ’685 patent.

                                   6          A district court may look to past settlement agreements with “sufficiently comparable

                                   7   licenses” to determine a reasonable royalty rate for infringement on a given patent. Prism Techs.

                                   8   LLC v. Sprint Spectrum L.P., 849 F.3d 1360, 1370–71 (Fed. Cir. 2017). Technical LED provided

                                   9   settlement agreements negotiated with parties who infringed the ’685 patent; while not all of the

                                  10   settlement agreements provided listed the amount of revenue at issue, the records revealed a

                                  11   reasonable royalty rate of between 7% and 9% for royalties believed to be on the upper end of the

                                  12   spectrum of revenue from infringing products (“[Believed to Be] Under $250,000”). Supp’l Br.
Northern District of California
 United States District Court




                                  13   Ex. O; see also Supp’l Br. at 10 (“As of the present and for total sales of infringing products

                                  14   between $50,000. and $250,000, the average paid up settlement amounts were between $11,250.

                                  15   and $25,000.”). In addition, the same patent was at issue in Aeon Labs, 2020 WL 1528446, where

                                  16   the district court found 9% to be a reasonable royalty rate for the ’685 patent. Based on the

                                  17   evidence in the record, the undersigned agrees that 9% of the revenue, calculated using the

                                  18   information from Amazon and Best Buy, is a reasonable royalty rate. Mipow netted $574,992.27

                                  19   in revenue before it was notified of the ’685 patent on October 19, 2018. Supp’l Br. Exs. 1-D,

                                  20   1-H. The undersigned recommends that Technical LED recover $51,749.30, or 9% of Mipow’s

                                  21   revenue, in royalty damages for the period before Mipow was notified of the patent. Damages for

                                  22   the period after Mipow was notified of the patent are addressed in the next section of this Report,

                                  23   in connection with the request for enhanced damages.

                                  24                  2.      Treble Damages
                                  25          Technical LED further argues that the court should award treble damages because of

                                  26   Mipow’s willful infringement of the ’685 patent. Mot. at 13. According to Technical LED,

                                  27   Mipow’s continued sales of infringing products after being informed of the ’685 patent and its

                                  28   default in the current action constitute willful infringement and egregious conduct such that the
                                                                                         8
                                           Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 9 of 16




                                   1   district court may award treble damages. Id. District courts have discretion to award enhanced

                                   2   damages of “up to three times the amount found or assessed,” 35 U.S.C. § 284, for “egregious

                                   3   cases of misconduct beyond typical infringement,” typically based on the “subjective willfulness

                                   4   of a patent infringer,” Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1932–35 (2016).

                                   5           “[A] willfulness claim asserted in the original complaint must necessarily be grounded

                                   6   exclusively in the accused infringer’s pre-filing conduct.” In re Seagate Tech., LLC, 497 F.3d

                                   7   1360, 1374 (Fed. Cir. 2007), abrogated on other grounds by Halo, 136 S. Ct. 1923. The Court in

                                   8   Halo explained that “such [enhanced] damages are generally reserved for egregious cases of

                                   9   culpable behavior.” 136 S. Ct. at 1932. A court in this district––when granting a motion for

                                  10   default judgment filed by this plaintiff––interpreted Halo to require the plaintiff show that the

                                  11   defendant was aware of the patent at issue before infringement could be considered willful. Aeon

                                  12   Labs, 2020 WL 1528446, at *2 (“Plaintiff’s complaint failed to plead that defendant had engaged
Northern District of California
 United States District Court




                                  13   in willful infringement prior to the start of litigation. Thus, defendant’s pre-litigation conduct

                                  14   does not warrant enhanced damages.”). The Complaint does not allege that Mipow knew about

                                  15   the ’685 patent between 2015, when it began selling infringing products, and 2018, when it was

                                  16   notified of the ’685 patent by Technical LED. The undersigned is persuaded by the logic in Aeon

                                  17   Labs, and recommends that Technical LED’s request for treble damages for the full period of

                                  18   infringing sales be DENIED.

                                  19           While damages tripling Mipow’s total revenue from the infringing products are not

                                  20   appropriate, Mipow’s continuing to sell infringing products after Technical LED notified it of the

                                  21   patent presents a different issue, particularly given that Mipow simultaneously declined to

                                  22   participate in the present action. The Federal Circuit has held that when, as here, a defendant

                                  23   “continued to sell the infringing product . . . even after [a] suit for infringement was filed,” it is

                                  24   proper for the district court to award additional damages beyond the amount of revenue the

                                  25   defendant netted from selling the infringing product after the date the defendant was notified of

                                  26   their infringement. Avia Grp. Int’l, Inc. v. L.A. Gear Cal., Inc., 853 F.2d 1557, 1566–67 (Fed. Cir.

                                  27   1988), abrogated on other grounds by Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665 (Fed.

                                  28   Cir. 2008); see also Aeon Labs, 2020 WL 1528446 at *3 (awarding “double damages” for revenue
                                                                                           9
                                          Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 10 of 16




                                   1   accrued after the defendant was notified of the plaintiff’s patent).

                                   2          Enhanced damages “are not to be meted out in a typical infringement case, but are instead

                                   3   designed as a ‘punitive’ or ‘vindictive’ sanction for egregious infringement behavior.” Halo, 136

                                   4   S. Ct. at 1930. “Trebling damages is reserved for the cases at the most egregious end of the

                                   5   spectrum.” Polara Eng’g, Inc. v. Campbell Co., 237 F. Supp. 3d 956, 994 (C.D. Cal. 2017), aff’d

                                   6   in part, vacated in part, remanded, 894 F.3d 1339 (Fed. Cir. 2018) (citing PPC Broadband, Inc. v.

                                   7   Corning Optical Comm’ns RF, LLC, No. 511CV761GLSDEP, 2016 WL 6537977, at *9

                                   8   (N.D.N.Y. Nov. 3, 2016)). “The district court has the discretion to decide whether the case is

                                   9   sufficiently egregious to warrant enhancing damages and to decide the amount of enhancement

                                  10   that is warranted (up to the statutory limit of treble damages).” WBIP, LLC v. Kohler Co., 829

                                  11   F.3d at 1342.

                                  12          At least one court has held that willful infringement and subsequent default does not
Northern District of California
 United States District Court




                                  13   constitute sufficiently egregious conduct such that treble damages are warranted. See LF

                                  14   Centennial Ltd. v. Inovex Furnishings Corp., No. CV 17-05824-AB (MRW), 2019 WL 6655258,

                                  15   at *7 (C.D. Cal. Oct. 2, 2019) (holding that “Plaintiffs must allege Defendant’s misconduct was

                                  16   egregious, which is beyond an allegation of knowledge and continued infringement” and granting

                                  17   the plaintiff’s renewed motion for a default judgment) (citing Halo, 136 S. Ct. at 1936 (Breyer, J.,

                                  18   concurring)). The undersigned is persuaded by the reasoning in LF Centennial that failing to

                                  19   respond to an action for patent infringement and continuing to infringe after receiving notice of the

                                  20   patent and infringement claim does not rise to the level of egregious conduct that the Supreme

                                  21   Court in Halo found necessary to support treble damages. See Halo 136 S. Ct. at 1930.

                                  22   Accordingly, the undersigned is not persuaded that Mipow’s conduct was egregious.

                                  23          In cases of willful infringement without more egregious conduct, courts have enhanced

                                  24   damage awards by less than triple the amount of the infringer’s revenue. See, e.g., WBIP, LLC v.

                                  25   Kohler Co., 829 F.3d 1317, 1342 (Fed. Cir. 2016) (upholding a district court’s decision “not to

                                  26   treble damages, but rather to enhance damages by 50%” after a jury determined that the

                                  27   defendant’s infringement was willful); Apple Inc. v. Samsung Elecs. Co., 258 F. Supp. 3d 1013,

                                  28   1036 (N.D. Cal. 2017) (awarding 30% of the total as compensatory damages when the the
                                                                                         10
                                           Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 11 of 16




                                   1   defendant’s infringement was “insufficient to preclude the award of enhanced damages” but

                                   2   “weigh[ed] in favor of a moderate award”); Microsoft Corp. v. Corel Corp., No. 5:15-CV-05836-

                                   3   EJD, 2018 WL 2183268, at *8 (N.D. Cal. May 11, 2018) (finding “some but not a complete

                                   4   enhancement of damages is warranted” to punish the defendant for willful, but not more

                                   5   egregious, infringement and awarding double damages); Aeon Labs, 2020 WL 1528446, at *3

                                   6   (awarding double damages when “defendant’s counsel confirmed receipt of plaintiff’s complaint,

                                   7   but defendant nevertheless ignored this litigation and continued to infringe”).

                                   8          The undersigned accordingly recommends that the Court double the reasonable royalty rate

                                   9   for the revenue of sales after October 19, 2018, which totaled $50,588.58. See Supp’l Br. Exs.

                                  10   1-D2, 1-E, 1-H. Granting damages totaling 18% of the revenue during that period––double the 9%

                                  11   applied to the pre-notification revenue––adds $9,105.94 to the initial royalty damages, bringing

                                  12   the full amount of damages to $60,855.24.
Northern District of California
 United States District Court




                                  13          E.      Injunctive Relief
                                  14          District courts are authorized by statute to “grant injunctions in accordance with the

                                  15   principles of equity to prevent the violation of any right secured by patent, on such terms as the

                                  16   court deems reasonable.” 35 U.S.C. § 283. To obtain injunctive relief, a plaintiff must

                                  17   demonstrate:

                                  18                   (1) that it has suffered an irreparable injury; (2) that remedies
                                                       available at law, such as monetary damages, are inadequate to
                                  19                   compensate for that injury; (3) that, considering the balance of
                                                       hardships between the plaintiff and defendant, a remedy in equity is
                                  20                   warranted; and (4) that the public interest would not be disserved by
                                                       a permanent injunction.
                                  21

                                  22   eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). A plaintiff must also demonstrate a

                                  23   “likelihood of irreparable harm” in the future. Flexible Lifeline Sys., Inc. v. Precision Lift, Inc.,

                                  24   654 F.3d 989, 998 (9th Cir. 2011).

                                  25          Technical LED cites the Federal Circuit’s decision in Richardson v. Suzuki Motor Co., 868

                                  26
                                  27   2
                                        Technical LED submitted a record of all Mipow products sold by Amazon during the period in
                                  28   question. The undersigned’s calculation includes only those products that infringe on the ’685
                                       patent. Those products are listed in Ex. 1-M.
                                                                                      11
                                          Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 12 of 16




                                   1   F.2d 1226, 1247 (Fed. Cir. 1989), for the rule that irreparable injury is presumed to result from

                                   2   infringement of a valid patent. Mot. at 14. Richardson is no longer good law. See Robert Bosch

                                   3   LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1148–49 (Fed. Cir. 2011) (explicitly abrogating

                                   4   Richardson in light of the Supreme Court’s decision in eBay). Under current Federal Circuit

                                   5   precedent, eBay has “abolishe[d the] general rule that an injunction normally will issue when a

                                   6   patent is found to have been valid and infringed.” Id. at 1149.

                                   7          Technical LED has not explained what irreparable injury it suffers as a result of Mipow’s

                                   8   infringement that cannot be compensated by monetary damages. Although eBay recognizes the

                                   9   possibility that a patent licensing entity may in some circumstances satisfy these elements of the

                                  10   test for injunctive relief, 547 U.S. at 393, Technical LED has presented no evidence that

                                  11   differentiates it from any owner of an infringed patent. There is no indication that Technical LED

                                  12   would decline to license its patent to Mipow for a reasonable royalty. While Technical LED’s
Northern District of California
 United States District Court




                                  13   attorney Heidelberger’s declaration includes a conclusory assertion that a patent licensor “must . . .

                                  14   maintain flexibility regarding future licensing strategies that may include various restrictions and

                                  15   differing payment schemes,” there is no evidence that Technical LED would require any

                                  16   nonmonetary restriction in a potential license agreement with Mipow. The only such restriction

                                  17   that Heidelberger identifies in Technical LED’s past license agreements for the ’685 patent is that

                                  18   the licenses were “personal, non-transferable licenses,” Heidelberger Decl. ¶ 23, but there is no

                                  19   evidence that Mipow ever purported to transfer rights under the ’685 patent—rights that it did not

                                  20   possess—to any other party or would do so in the future, or that such unauthorized transfer or

                                  21   licensing would cause harm that could not be compensated by damages. Technical LED also

                                  22   contends that the lack of an injunction here would allow any other manufacturer to infringe the

                                  23   ’685 patent without consequence besides retroactive payment of a reasonable royalty. That

                                  24   argument overlooks the deterrent effect of potential treble damages for willful infringement and

                                  25   the fact that an injunction in this case would only bind Mipow and not other manufacturers.

                                  26   Moreover, Technical LED does not explain how royalty damages are any less of a deterrent in this

                                  27   case than in any other case of patent infringement.

                                  28          In its supplemental brief, Technical LED did not provide any additional evidence that the
                                                                                        12
                                           Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 13 of 16




                                   1   present infringement is different from other infringements, that Mipow is using the technology in

                                   2   the ’685 patent in a way that would be prohibited by Technical LED’s licensing agreement (had

                                   3   Mipow obtained such a license), or that Mipow would have not been entitled to license the

                                   4   technology from the ’685 patent had they applied for a license through the proper channels.

                                   5   Technical LED did not advance any additional arguments justifying a finding that it had been

                                   6   irreparably harmed as is necessary for finding Technical LED entitled to a permanent injunction

                                   7   under eBay. Granting injunctive relief based on Technical LED’s arguments would effectively

                                   8   hold that infringement itself supports such relief, in contravention of the Federal Circuit’s holding

                                   9   in Robert Bosch.

                                  10             Because Technical LED has not satisfied the first two elements of the eBay test by

                                  11   showing irreparable injury not compensable through monetary damages, the Court need not reach

                                  12   the remaining two elements of the test, which address the balance of hardships and the public
Northern District of California
 United States District Court




                                  13   interest.3 The undersigned recommends that Technical LED’s motion be DENIED as to injunctive

                                  14   relief.

                                  15             F.   Attorneys’ Fees and Costs
                                  16             A district court may award attorneys’ fees under 35 U.S.C. § 285 in an exceptional case to

                                  17   the “prevailing party.” In a default action, the moving party must establish that they are entitled to

                                  18   relief before the district court can consider them a prevailing party for attorneys’ fees purposes

                                  19   because “ordinary language requires that a plaintiff receive at least some relief on the merits of his

                                  20   claim before he can be said to prevail.” Raniere v. Microsoft Corp., 887 F.3d 1298, 1304 (Fed.

                                  21   Cir. 2018) (quoting Buckhannon Bd. & Care Home, Inc. v. W. Va. Dep’t of Health & Human Res.,

                                  22   532 U.S. 598, 603 (2001)). “[A]n ‘exceptional’ case is simply one that stands out from others

                                  23   with respect to . . . the unreasonable manner in which the case was litigated.” Octane Fitness,

                                  24   LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554 (2014). This includes cases where the

                                  25
                                       3
                                  26     In what is either an unusual characterization of LED lightbulbs or boilerplate language that
                                       Technical LED’s attorney failed to update, Technical LED contends that “the public interest will
                                  27   not be disserved by a permanent injunction because consumer needs for adult oriented services
                                       can be met by numerous other parties who comply with Plaintiff’s licenses.” Mot. at 14 (emphasis
                                  28   added). Regardless, the undersigned is not persuaded that this consideration justifies granting an
                                       injunction.
                                                                                         13
                                          Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 14 of 16




                                   1   defendant willfully infringes the plaintiff’s patent while defaulting on the action for patent

                                   2   infringement. See ADG Concerns, Inc. v. Tsalevich LLC, No. 18-cv-00818-NC, 2018 WL

                                   3   4241967, at *13 (N.D. Cal. Aug. 31, 2018) (listing cases), report and recommendation adopted,

                                   4   No. 18-cv-00818-JSW, 2018 WL 6615139 (N.D. Cal. Nov. 1, 2018) (“[W]illful infringement, in

                                   5   conjunction with non-participation in litigation, makes a case ‘exceptional.’”). Because Technical

                                   6   LED has shown that it is entitled to some relief, and because Mipow’s lack of participation in the

                                   7   present action and continued infringement after notice of the ’685 patent makes this case an

                                   8   exceptional one, Technical LED is entitled to attorneys’ fees.

                                   9          However, the undersigned notes that Technical LED’s counsel failed to appear for a case

                                  10   management conference and filed a motion for default judgment replete with typographical errors,

                                  11   boilerplate text (in at least one instance not updated to correspond to the case at hand), and citation

                                  12   to outdated authorities (including at least one decision that has been explicitly overruled). The
Northern District of California
 United States District Court




                                  13   supplemental brief contained several of the same errors as the original motion, including an

                                  14   important date left blank and several misspellings, including the misspelling of a case name.

                                  15   While the undersigned does not suggest that counsel in this case could not in other circumstances

                                  16   provide the level of service that would be expected for their partner-level billing rates, they have

                                  17   not done so here. The undersigned therefore recommends a reduction of slightly less than one-

                                  18   third of counsel’s customary billing rates, resulting in a blended rate of $400 per hour.

                                  19          According to Heidelberger’s declaration, the two attorneys worked approximately 43 hours

                                  20   combined on this matter. Heidelberger Decl. ¶ 30. Accordingly, based on the undersigned’s

                                  21   recommended reduced rate of $400 per hour, the undersigned recommends that Mipow be liable

                                  22   for a total of $17,200 in attorney’s fees. The undersigned also recommends that the district court

                                  23   add $600 in paralegal’s fees, Heidelberger Decl. at ¶ 33, because the “ ‘reasonable attorney’s fee’

                                  24   provided for by statute should compensate the work of paralegals, as well as that of attorneys.”

                                  25   Missouri v. Jenkins ex rel. Agyei, 491 U.S. 274, 285 (1989). The undersigned recommends

                                  26   awarding Technical LED a total of $17,800 in attorneys’ fees and paralegal fees.

                                  27          In addition, Technical LED incurred $9,697.49 in expenses related to the matter.

                                  28   Heidelberger Decl. ¶ 33; see also Mot. at 22–23. As the prevailing party, Technical LED is
                                                                                         14
                                          Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 15 of 16




                                   1   entitled to taxable costs associated with litigation. 35 U.S.C. § 284 (“Upon finding for the

                                   2   claimant the court shall award . . . costs as fixed by the court.”). The undersigned therefore

                                   3   recommends that Technical LED’s request for costs also be GRANTED.

                                   4          G.    Personal Liability
                                   5          In addition to damages and injunctive relief, Technical LED asks the undersigned to

                                   6   recommend holding Ching Lam, the CEO of Mipow, and Yang Fan, Technical LED’s primary

                                   7   contact at Mipow, personally liable for Mipow’s infringing conduct. Supp’l Br. at 13–14. Neither

                                   8   person is mentioned in the complaint or named as a defendant, and Ching Lam was not served

                                   9   with the complaint. See generally Compl.; Certificate of Service (dkt. 19-13).

                                  10          Technical LED has not cited any caselaw supporting the proposition that the undersigned

                                  11   should recommend holding non-parties liable for a corporation’s infringement. Plaintiffs who

                                  12   seek to hold officers liable for their companies’ infringement but did not name them as defendants
Northern District of California
 United States District Court




                                  13   in the plaintiffs’ original complaints generally move to amend their complaints to add the officers

                                  14   as parties. See, e.g., Randolph-Rand Corp. of N.Y. v. Tidy Handbags, Inc., No. 96 CIV 1829, 2001

                                  15   WL 1286989, at *9 (S.D.N.Y. Oct. 24, 2001) (granting the plaintiff’s motion to amend its

                                  16   complaint and add two officers of the defendant corporation as defendants); Lawman Armor Corp.

                                  17   v. Winner Int’l, LLC, No. CIV.A. 02-4595, 2003 WL 22902808, at *1 (E.D. Pa. Dec. 10, 2003)

                                  18   (denying the plaintiff’s motion to amend its complaint and add two individual defendants); Sitrick

                                  19   v. FreeHand Sys., Inc., No. 02 C 1568, 2004 WL 725306, at *7 (N.D. Ill. Mar. 31, 2004) (granting

                                  20   the plaintiff’s motion for leave to amend its complaint to add an officer of the defendant

                                  21   corporation as a defendant in the action). Technical LED has not filed such a motion. Moreover,

                                  22   under Rule 55 of the Federal Rules of Civil Procedure, default judgment may be entered only after

                                  23   a party’s default has been entered, which has not occurred for the non-party individuals Technical

                                  24   LED now seeks to hold liable. The undersigned therefore recommends that Technical LED’s

                                  25   request to hold Ching Lam and Yang Fan personally liable for Mipow’s infringement be DENIED.

                                  26
                                  27

                                  28
                                                                                        15
                                             Case 3:19-cv-00393-SI Document 35 Filed 04/28/20 Page 16 of 16




                                   1   IV.      CONCLUSION

                                   2            For the reasons discussed above, the undersigned recommends that Technical LED’s

                                   3   motion be GRANTED IN PART and DENIED IN PART, and that judgment be entered in favor of

                                   4   Technical LED in the amount of $88,352.73.

                                   5

                                   6   Dated: April 28, 2020

                                   7                                                  ______________________________________
                                                                                      JOSEPH C. SPERO
                                   8                                                  Chief Magistrate Judge
                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                      16
